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                   EXHIBIT 3
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DoD Schools Ranked Best in the United States Again
on Nation’s Report Card
Fourth and eighth-grade students attending Department of Defense Education Activity (DoDEA) schools led the
nation in scoring on the 2024 National Assessment of Educational Progress (NAEP) Reading and Mathematics
Assessments.

DoDEA students’ average scale scores ranged from 14 to 25 points higher than corresponding national average
scores and held steady while national average scores mostly decreased.

“I am delighted that DoDEA has once again performed exceptionally well on the National Assessment of
Educational Progress,” said DoDEA Director, Dr. Beth Schiavino-Narvaez. “Credit for this success belongs to
our incredible teachers, administrators, and staff of DoDEA, and most importantly to our students and their
families, for all their hard work and dedication. Our relentless pursuit of continuous improvement has
empowered our mission to deliver excellence in education to every student, every day, everywhere."

The National Assessment of Educational Progress (NAEP) is the only nationally representative and continuing
assessment of what America's students know and can do in various subject areas. Assessments are conducted
periodically in mathematics, reading, science, writing, the arts, civics, economics, geography, and U.S. history.
NAEP does not provide scores for individual students or schools; instead, it offers results regarding subject-
matter achievement, instructional experiences, and school environment for populations of students (e.g., fourth
graders) and groups within those populations (e.g., Hispanic students). NAEP results are based on a sample of
student populations of interest.

DoDEA NAEP 2024

The NAEP Reading and Mathematics Assessments were administered using digital-based assessments (DBA) to
fourth and eighth grade students in the nation’s public schools. For more information about NAEP digital-based
assessments, please visit https://nces.ed.gov/nationsreportcard/dba/

The NAEP Reading and Mathematics scale scores range from 0 to 500. Achievement levels are performance
standards that indicate what students should know and be able to do. NAEP results are reported in terms of three
achievement levels – Basic, Proficient, and Advanced – and are expressed in terms of the percentage of students
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who attained each level. DoDEA participated in the NAEP reading assessment for the first time in 1998 and in
mathematics in 2000.

DoDEA 2024 NAEP READING RESULTS

4th Grade

      The average scale score for students in DoDEA in 2024 (234) was higher than that in 1998 (220) and was
      not significantly different from that in 2022 (235).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Proficient was 48
      percent. This was greater than that for the nation's public schools (30 percent).
      The percentage of students in DoDEA who performed at or above NAEP Proficient in 2024 (48 percent)
      was greater than that in 1998 (32 percent) and was not significantly different from that in 2022 (50
      percent).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Basic was 79 percent.
      This was greater than that for the nation's public schools (59 percent).
      The percentage of students in DoDEA who performed at or above NAEP Basic in 2024 (79 percent) was
      greater than that in 1998 (66 percent) and not significantly different than that in 2022 (80 percent).

8th Grade

      The average scale score for students in DoDEA in 2024 (282) was higher than that in 1998 (269) and not
      significantly different from that in 2022 (282).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Proficient was 53
      percent. This was greater than that for the nation's public schools (29 percent).
      The percentage of students in DoDEA who performed at or above NAEP Proficient in 2024 (53 percent)
      was greater than that in 1998 (37 percent) and was not significantly different from that in 2012 (55
      percent).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Basic was 90 percent.
      This was greater than that for the nation's public schools (66 percent).
      The percentage of students in DoDEA who performed at or above NAEP Basic in 2024 (90 percent) was
      greater than that in 1998 (79 percent) and was not significantly different from that in 2022 (90 percent).

Table 1 shows a comparison of reading performance scores of DoDEA students and those in national public
schools. In 4th grade reading, DoDEA has a consistent trend of increasing the extent to which our students are
performing higher than students in the national public system each year, with growth from 13 points higher than
the national public average in 2017 to 20 points in 2024. The reflects an increasing and positive gap for
DoDEA. The same trend is clear for 8th grade with growth from a 15-point gap in 2017 to outperforming the
nation’s public schools by 25 points in 2024.



Table 1. Historical Performance of DoDEA students on the NAEP Reading Assessment


ASSESSMENT            AVERAGE SCALE SCORE                         ACHIEVEMENT LEVELS
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                                  Difference from National       At or Above    At or Above        At
Subject Grade Year Score
                                  Public (NP)                    Basic          Proficient         Advanced


Reading 4        2024 234         +20                            79             48                 15


Reading 4        2022 235         +19                            80             50                 16


Reading 4        2019 235         +16                            83             49                 12


Reading 4        2017 234         +13                            84             48                 11


Reading 8        2024 282         +25                            90             53                 8


Reading 8        2022 282         +23                            90             55                 7


Reading 8        2019 280         +18                            91             52                 5


Reading 8        2017 280         +15                            91             51                 5


DoDEA 2024 NAEP MATHEMATICS RESULTS

4th grade Math

     The average scale score for students in DoDEA in 2024 (251) was higher than that in 1996 (224) and was
     not significantly different from that in 2022 (250).
     In 2024, the percentage of students in DoDEA who performed at or above NAEP Proficient was 54
     percent. This was greater than that for the nation's public schools (39 percent).
     The percentage of students in DoDEA who performed at or above NAEP Proficient in 2024 (54 percent)
     was greater than that in 1996 (19 percent) and was not significantly different from that in 2022 (51
     percent).
     In 2024, the percentage of students in DoDEA who performed at or above NAEP Basic was 91 percent.
     This was greater than that for the nation's public schools (76 percent).
     The percentage of students in DoDEA who performed at or above NAEP Basic in 2024 (91 percent) was
     greater than that in 1996 (64 percent) and was not significantly different from that in 2022 (92 percent).

8th grade math

     In 2024, the average mathematics scale score for eighth-grade students in DoDEA was 291. This was
     higher than that for the nation's public schools (272).
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      The average scale score for students in DoDEA in 2024 (291) was higher than that in 1996 (274) and was
      not significantly different from that in 2022 (292).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Proficient was 41
      percent. This was greater than that for the nation's public schools (27 percent).
      The percentage of students in DoDEA who performed at or above NAEP Proficient in 2024 (41 percent)
      was greater than that in 1996 (22 percent) and was not significantly different from that in 2022 (41
      percent).
      In 2024, the percentage of students in DoDEA who performed at or above NAEP Basic was 81 percent.
      This was greater than that for the nation's public schools (59 percent).
      The percentage of students in DoDEA who performed at or above NAEP Basic in 2024 (81 percent) was
      greater than that in 1996 (64 percent) and was not significantly different from that in 2022 (82 percent).



Table 2 shows a comparison of mathematics performance scores of DoDEA students and those in national public
schools. In Mathematics, DoDEA exceeds national public schools, and the gap has increased over time from 10
points in 2017 to 14 points in 2024. Additionally, the portion of students meeting the highest expectations
(Advanced on NAEP) have increased from 8 percent of students to 11 percent of students. In 8th grade math the
results are even more dramatic with the gap nearly doubling from DoDEA outperforming by 11 points to
DoDEA outperforming by 19 points.

Table 2. Historical Performance of DoDEA students on the NAEP Mathematics Assessment


ASSESSMENT                 AVERAGE SCALE SCORE                      ACHIEVEMENT LEVELS


                                       Difference from National At or Above At or Above              At
Subject      Grade Year Score
                                       Public (NP)              Basic       Proficient               Advanced


Mathematics 4        2024 251          +14                          91            54                 11


Mathematics 4        2022 250          +15                          92            51                 10


Mathematics 4        2019 250          +10                          92            54                 9


Mathematics 4        2017 249          +10                          91            51                 9


Mathematics 8        2024 291          +19                          81            41                 11


Mathematics 8        2022 292          +19                          82            41                 11
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Mathematics 8        2019 292          +11                          83            41                 11


Mathematics 8        2017 293          +11                          83            42                 11


DoDEA 2024 NAEP PERFORMANCE OF SELECTED STUDENT GROUPS

With respect to fourth grade reading, female students achieved a higher average scale score in reading than that
of the male students. White students in DoDEA had an average score that was higher than the average scores of
Blacks and Hispanic students, but not significantly different from the average score of Asian students. The
percentage of White students (54) performing at or above Proficient was greater than corresponding Black (34)
and Hispanic (42) students and was consistent with the percentage of Asian students (53).

Figure 1: 2024 NAEP 4th Grade Reading Average Scale Scores




With respect to eighth grade reading, female students achieved a higher average scale score in reading than that
of the male students. The difference between student performance at or above Proficient level between male and
female is significant; 47 percent and 60 percent respectively. White students in DoDEA had an average score
that was higher than the average scores of Black and Hispanic students, but not significantly different from the
average score of Asian students. The percentage of White students performing at or above Proficient was greater
than corresponding percentages of Black and Hispanic students, but not significantly different from the
percentage of Asian students.

Figure 2: 2024 NAEP 8th Grade Reading Average Scale Score
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DoDEA 2024 NAEP Mathematics Results by Student Groups

With respect to fourth grade mathematics, male students in DoDEA had a higher average scale score (254) than
female students (247) on the NAEP 2024 assessment. The percent of male students (60) that performed at or
above Proficient was higher than female students (48). White students in DoDEA had an average score that was
higher than the average scores of Black, Hispanic students but was not significantly different than that of Asian
students. The percentage of White students (60) performing at or above Proficient was significantly higher than
corresponding Black (37) and Hispanic students (47), but not

Figure 3: 2024 NAEP 4th Grade Math Average Scale Score




With respect eighth grade mathematics, male students in DoDEA had an average scale score in mathematics
(294) that was significantly higher than that of female students (289). The percent of male students (45) that
performed at or above Proficient was higher than female students (36). White students in DoDEA had an average
score that was higher than the average scores of Blacks and Hispanic students but was lower than that of Asian
students. The percentage of White students performing at or above Proficient was significantly higher than
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corresponding Black and Hispanic students but was not significantly different than that of Asian students.

Figure 4: 2024 NAEP 8th Grade Math Average Scale Score




NAEP uses Item Response Theory (IRT) scaling and NAEP marginal estimations to estimate scale scores for
each of the content areas at each grade. For both mathematics and reading, each scale score distribution is
transformed to NAEP scale scores that range from 0 to 500. Subscale effect sizes are used to compare
performance in the different content areas. For more information about NAEP analysis, IRT, and scaling, see
https://nces.ed.gov/nationsreportcard/tdw/analysis/.

Additional Information

Detailed information on the 2024 NAEP Reading and Mathematics assessment and all other NAEP assessments
can be found on the web at: http://www.nationsreportcard.gov.

DoDEA plans, directs, coordinates, and manages pre-kindergarten through 12th grade education programs for
school-age children of Department of Defense personnel who would otherwise not have access to high-quality
public education. DoDEA schools are located in Europe, the Pacific, Western Asia, the Middle East, Cuba, the
United States, Guam, and Puerto Rico. DoDEA also provides support and resources to Local Educational
Agencies throughout the United States that serve children of military families.

NAEP Comparison Data (2024 and 2022)

  Reading, Grade 4


                            Jurisdiction


                            National public                 DoDEA
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                             Year                           Year


Grade 4 Reading              2024               2022                   2024               2022


Average scale score          Average scale score Average scale score   Average scale score Average scale score


All                          214                216                    234                235


White                        239                239                    224                226


Black                        198                198                    221                226


Hispanic                     203                204                    229                229


Asian/Pacific Islander       234                238                    238                240


American Indian/Alaska
                             196                198                    ‡                  ‡
Native


Two or more races            219                222                    236                237


Male                         210                213                    230                232


Female                       218                219                    238                238


Identified as students with
                            182                 183                    208                203
disabilities


Not identified as students
                             220                222                    239                241
with disabilities


EL                           185                190                    216                217
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                                            246

Not EL                    219           220                236              237


Percentile Estimates


10th percentile           157           160                189              189


25th percentile           187           190                213              214


50th percentile           218           220                237              238


75th percentile           244           245                258              259


90th percentile           265           265                275              276


Achievement Level at or
Above Proficient


All                       30            32                 48               50


White                     39            41                 54               55


Black                     16            16                 34               37


Hispanic                  20            20                 42               44


Asian/Pacific Islander    50            55                 53               55


American Indian/Alaska
                          15            18                 ‡                ‡
Native


Two or more races         35            37                 50               52
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                                                     247

Male                         27                  30                    44                  47


Female                       34                  34                    53                  54


Identified as students with
                            10                   11                    22                  19
disabilities


Not identified as students
                             34                  36                    54                  56
with disabilities


EL                           8                   10                    26                  28


Not ELL                      34                  36                    51                  53


 ‡ Reporting standards not met.

DoDEA NOTE: DoDEA = Department of Defense Education Activity. Some apparent differences between
estimates may not be statistically significant. NOTE: Black includes African American, Hispanic includes
Latino, and Pacific Islander includes Native Hawaiian. Race categories exclude Hispanic origin. Prior to
2011, students in the "two or more races" category were categorized as "unclassified." Some apparent
differences between estimates may not be statistically significant. SOURCE: U.S. Department of Education,
Institute of Education Sciences, National Center for Education Statistics, National Assessment of Educational
Progress (NAEP), 2022 and 2024 Reading Assessments.


Reading, Grade 8


                             Jurisdiction


                             National public                          DoDEA


                             Year                                     Year


Grade 8 Reading              2024                2022                 2024                 2022


Average scale score          Average scale score Average scale score Average scale score Average scale score
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                                            248

All                          257        259               282               282


White                        266        267               285               286


Black                        243        243               270               271


Hispanic                     245        250               277               281


Asian/Pacific Islander       281        283               286               291


American Indian/Alaska
                             246        246               ‡                 ‡
Native


Two or more races            261        263               286               280


Male                         252        255               278               276


Female                       261        263               287               289


Identified as students with
                            224         228               259               255
disabilities


Not identified as students
                             262        264               286               286
with disabilities


EL                           220        225               261               260


Not EL                       261        263               283               284


Percentile Estimates


10th percentile              202        208               243               244
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                                            249

25th percentile            231          235               263               264


50th percentile            260          262               284               284


75th percentile            285          286               303               302


90th percentile            306          306               319               318


Achievement Level at or
Above Proficient


All                        29           29                53                55


White                      36           37                57                59


Black                      16           15                38                41


Hispanic                   18           20                47                52


Asian/Pacific Islander     53           55                62                61


American Indian/Alaska
                           17           18                ‡                 ‡
Native


Two or more races          34           33                59                51


Male                       25           26                47                46


Female                     32           33                60                63


Identified as students with
                            8           9                 24                19
disabilities
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                                                     250

Not identified as students
                             32                  33                  58                   59
with disabilities


ELL                          5                   5                   25                   22


Not ELL                      31                  32                  55                   57


‡ Reporting standards not met.

DoDEA NOTE: DoDEA = Department of Defense Education Activity. Some apparent differences between
estimates may not be statistically significant. NOTE: Black includes African American, Hispanic includes
Latino, and Pacific Islander includes Native Hawaiian. Race categories exclude Hispanic origin. Prior to 2011,
students in the "two or more races" category were categorized as "unclassified." Some apparent differences
between estimates may not be statistically significant. SOURCE: U.S. Department of Education, Institute of
Education Sciences, National Center for Education Statistics, National Assessment of Educational Progress
(NAEP), 2022 and 2024 Reading Assessments.


Mathematics, Grade 4


                             Jurisdiction


                             National public                          DoDEA


                             Year                                     Year


Grade 4 Mathematics          2024                 2022                2024                2022


Average scale score          Average scale score Average scale score Average scale score Average scale score


All                          237                  235                 251                 250


White                        247                  245                 254                 254


Black                        220                  216                 239                 237
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                                            251

Hispanic                     227         224              246               246


Asian/Pacific Islander       257         257              256               253


American Indian/Alaska
                             220         220              ‡                 ‡
Native


Two or more races            242         238              254               250


Male                         240         238              254               253


Female                       235         232              247               246


Identified as students with
                            211          211              234               233
disabilities


Not identified as students
                             242         239              254               253
with disabilities


EL                           216         215              242               239


Not EL                       241         238              252               251


Percentile Estimates


10th percentile              190         190              216               217


25th percentile              215         213              234               233


50th percentile              240         236              252               250


75th percentile              262         258              269               267
      Case 1:25-cv-00637-PTG-IDD   Document 10-5   Filed 05/07/25   Page 16 of 20 PageID#
                                            252

90th percentile              280         277              284               282


Achievement Level at or
Above Proficient


All                          39          35               54                51


White                        51          47               60                59


Black                        19          15               37                31


Hispanic                     27          21               47                44


Asian/Pacific Islander       64          62               60                55


American Indian/Alaska
                             20          19               ‡                 ‡
Native


Two or more races            44          38               59                53


Male                         43          39               60                57


Female                       36          31               48                46


Identified as students with
                            16           15               31                28
disabilities


Not identified as students
                             44          39               59                56
with disabilities


EL                           16          14               41                33


Not EL                       43          39               56                54
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                                                  253

‡ Reporting standards not met.

DoDEA NOTE: DoDEA = Department of Defense Education Activity. Some apparent differences between
estimates may not be statistically significant.

NOTE: Black includes African American, Hispanic includes Latino, and Pacific Islander includes Native
Hawaiian. Race categories exclude Hispanic origin. Prior to 2011, students in the "two or more races" category
were categorized as "unclassified." Some apparent differences between estimates may not be statistically
significant. SOURCE: U.S. Department of Education, Institute of Education Sciences, National Center for
Education Statistics, National Assessment of Educational Progress (NAEP), 2022 and 2024 Mathematics
Assessments.


Mathematics, Grade 8


                                 Jurisdiction


                                 National public                        DoDEA


                                 Year                                   Year


Grade 8 Mathematics              2024               2022                2024               2022


Average scale score


All                              272                273                 291                292


White                            284                284                 296                298


Black                            251                252                 276                272


Hispanic                         257                261                 286                284


Asian/Pacific Islander           305                304                 295                301


American Indian/Alaska Native 253                   257                 ‡                  ‡
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                                                 254

Two or more races                 277           275              296              294


Male                              274           274              294              294


Female                            270           272              289              289


Identified as students with
                                  238           242              264              267
disabilities


Not identified as students with
                                  278           278              296              295
disabilities


EL                                237           241              267              270


Not EL                            276           276              293              293


Percentile Estimates


10th percentile                   218           223              249              250


25th percentile                   243           246              269              270


50th percentile                   272           273              291              292


75th percentile                   302           300              314              313


90th percentile                   327           324              335              334


Achievement Level at or Above
Proficient


All                               27            26               41               41
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                                                255

White                             37           34               46               48


Black                             10           9                22               17


Hispanic                          14           14               35               32


Asian/Pacific Islander            57           56               46               54


American Indian/Alaska Native 12               11               ‡                ‡


Two or more races                 30           27               47               43


Male                              29           27               45               44


Female                            24           24               36               38


Identified as students with
                                  7            7                13               17
disabilities


Not identified as students with
                                  30           29               45               44
disabilities


EL                                5            4                17               14


Not EL                            29           28               43               43
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                                                    256

 ‡ Reporting standards not met.

DoDEA NOTE: DoDEA = Department of Defense Education Activity. Some apparent differences between
estimates may not be statistically significant.

NOTE: Black includes African American, Hispanic includes Latino, and Pacific Islander includes Native
Hawaiian. Race categories exclude Hispanic origin. Prior to 2011, students in the "two or more races" category
were categorized as "unclassified." Some apparent differences between estimates may not be statistically
significant. SOURCE: U.S. Department of Education, Institute of Education Sciences, National Center for
Education Statistics, National Assessment of Educational Progress (NAEP), 2022 and 2024 Mathematics
Assessments.




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